
USCA1 Opinion

	




          April 2, 1992         [NOT FOR PUBLICATION]                                 ___________________          No. 91-2234                                               NEVILLE CAMERON,                                     Petitioner,                                          v.                       IMMIGRATION AND NATURALIZATION SERVICES,                                     Respondent.                                 ____________________                          ON PETITION FOR REVIEW OF AN ORDER                          OF THE BOARD OF IMMIGRATION APPEALS                                  __________________                                        Before                                 Breyer, Chief Judge,                                         ___________                            Selya and Cyr, Circuit Judges.                                           ______________                                 ___________________               Neville E.A. Cameron on Motion in Opposition thereto.               ____________________               Stuart  M.   Gerson,  Assistant  Attorney   General,  Robert               ___________________                                   ______          Kendall, Jr., Assistant Director, and Charles E. Pazar, Office of          ____________                          ________________          Immigration Litigation, Civil Division, Department of Justice, on          Motion to Summarily Dispose of Petition for Review.                                  __________________                                  __________________                 Per  Curiam.     The   I.N.S.  has  moved   for  summary                 ___________            disposition  of this  petition  for review  of a  deportation            order  entered  after  petitioner  failed  to  appear  for  a            hearing.    We  conclude  the  deportation  order  should  be            summarily affirmed.                                          I.                 In June  1989, petitioner  was served  with a notice  to            show cause why  he should  not be deported  under 8 U.S.C.               1251(a)(4)  (1988)  (authorizing   deportation  of  an  alien            convicted of a crime of moral turpitude committed within five            years  after  entry and  sentenced to  prison  for a  year or            more).  The notice alleged that petitioner had been convicted            of  burning a dwelling house  and had been  sentenced to five            years in prison.                 Initially,  petitioner  was   represented  by   Attorney            Stickney, whom  he  retained  in March  1990.    After  three            months, however, Attorney Stickney moved to withdraw  stating            that petitioner had failed to appear for appointments, answer            phone messages,  or respond to a  certified letter requesting            immediate contact.  After several continuances, a hearing was            scheduled  for July  10,  1990.   On  that day,  petitioner's            lawyer,  Attorney  Visram, asked  for  a  further continuance            which  was granted.  At  the next hearing  (August 14, 1990),            Attorney Visram  appeared (petitioner  did not) and  moved to            withdraw, stating  that petitioner  had failed to  appear for                                         -2-            appointments and had failed to appear for the present hearing            despite promising to do so.  Consequently, counsel was unable            to  represent him.   Counsel  was allowed  to withdraw.   The            deportation hearing then  proceeded in petitioner's  absence.            The   government   introduced   documentation  showing   that            petitioner had entered the country on October 26,  1982, that            he had been convicted  for burning a dwelling on  October 17,            1987,  and that he had received a  five year sentence for the            offense.   The  immigration judge  concluded  petitioner  was            deportable and ordered him deported to Jamaica.                 Petitioner appealed to the Board of Immigration Appeals.            He contended that he had not appeared at the  August 14, 1990            hearing  because of  an ulcer  attack, had  notified Attorney            Visram's secretary  of the problem,  had been assured  by the            secretary  that Attorney  Visram  would appear  and obtain  a            continuance, and had later spoken with Visram only to be told            that Visram's refusal to  represent petitioner was because of            nonpayment of a bill.                 The Board  concluded that  under the circumstances  then            present,  the immigration  judge had  properly conducted  the            deportation  hearing in  absentia when  petitioner failed  to            appear at the hearing.  8 U.S.C.   1252(b) (if alien fails to            attend a hearing without reasonable cause, the proceeding may            be conducted  in  his  absence).   As  for  petitioner's  new            allegations of  an ulcer attack and  counsel malfeasance, the                                         -3-            Board noted that  petitioner could have  moved to reopen  the            deportation proceeding  in  order to  establish  the  alleged            facts.   A motion to  reopen, however, must  be "supported by            affidavits  or  other  documentary  evidence."   8  C.F.R.               103.5(a)(2).1 The  Board decided  not to  remand in  order to            permit petitioner  to attempt to establish  the alleged facts            for two  reasons.   First, petitioner  had not supported  his            allegations by affidavit  or documentary  evidence.   Second,            petitioner's  credibility was suspect.   The record disclosed            complaints  from   not  one  but  two   separate  counsel  of            petitioner's failure to  cooperate.  Petitioner's  account of            having  spoken to  counsel's secretary  prior to  the hearing            directly contradicted counsel's statement at the hearing that            counsel had been unable to  communicate with petitioner.  The            Board dismissed petitioner's appeal.                                         II.                 Petitioner's  two fold  response  in this  court to  the            I.N.S.'s motion for summary disposition was to state that his            petition for review was timely filed and to ask for more time            for briefing  in view  of family problems  and incarceration.                                            ____________________            1.  The regulation reads as follows:                      (2) Requirements for motion to reopen.  A                          _________________________________                      motion to reopen must -                           (i)  State the new  facts to be                           proved    at    the    reopened                           proceedings, and                           (ii) Be supported by affidavits                           or other documentary evidence.                                          -4-            He  has failed to even hint, however, at any viable challenge            to the deportation order, and we see none.  The statutory and            regulatory provisions  are straightforward.   The immigration            judge  was  authorized  to  hold  a  deportation  hearing  in            petitioner's  absence, 8  U.S.C.    1252(b),  deportation was            authorized under 8 U.S.C.   1251(a)(4) (1988) on the evidence            presented,  and  petitioner  failed  adequately  to  document            reasonable  cause  for  failure  to  attend  the  deportation            hearing.   Cf. Ghosh v.  Attorney General, 629  F.2d 987, 989                       ___ _____     ________________            (4th Cir. 1980) ("It is not an abuse of discretion  to deny a            motion to  reopen deportation proceedings when  the motion is            not  supported by  proper  affidavits  or  other  evidentiary            materials.").  In these  circumstances, we affirm the Board's            order and deny petitioner's request for more time to respond.                 Affirmed.                        ________                                                      -5-

